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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    HANNAH R. LABAREE, Bar #294338
     Assistant Federal Defender
3    Counsel Designated for Service
     801 I Street, 3rd Floor
4    Sacramento, California 95814
     Telephone: (916) 498-5700
5
6    Attorneys for Defendant
     JUAN CAMACHO
7
8                                            UNITED STATES DISTRICT COURT
9                                          EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                           No. Cr. S 07-170 MCE
11
12                             Plaintiff,                NOTICE OF WITHDRAWAL OF FIRST
                                                         STIPULATED MOTION TO REDUCE
13             v.                                        SENTENCE PURSUANT TO 18 U.S.C. §
                                                         3582(c)(2)
14   JUAN CAMACHO,
                                                         RETROACTIVE DRUGS-MINUS-TWO
15                             Defendant.                REDUCTION CASE

16                                                       Judge: Honorable MORRISON C. ENGLAND, JR.

17
               Defendant, JUAN CAMACHO, by and through his attorney, Assistant Federal Defender
18
     Hannah R. Labaree, and plaintiff, UNITED STATES OF AMERICA, by and through its counsel,
19
     Assistant U.S. Attorney Jason Hitt, hereby WITHDRAW the first Stipulated Motion and
20
     [lodged] Order to Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(2) (CR 150).
21
     Respectfully submitted,
22
     Dated: December 15, 2015                           Dated: December 15, 2015
23
     BENJAMIN B. WAGNER                                 HEATHER E. WILLIAMS
24   United States Attorney                             Federal Defender
25
      /s/ Jason Hitt_                                   /s/ Hannah R. Labaree
26   JASON HITT                                         HANNAH R. LABAREE
     Assistant U.S. Attorney                            Assistant Federal Defender
27
     Attorney for Plaintiff                             Attorney for Defendant
28   UNITED STATES OF AMERICA                           JUAN CAMACHO
     Notice of Withdrawal of Stipulated Motion
                                                           1
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1                                                ORDER
2              Upon the parties’ notice, IT IS HEREBY ORDERED that the first Stipulated Motion to
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     Reduce Sentence Pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 150) is WITHDRAWN.
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               IT IS SO ORDERED.
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     Dated: January 11, 2016
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     Notice of Withdrawal of Stipulated Motion
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